     Case 1:19-cv-00562-AJT-MSN Document 1 Filed 05/09/19 Page 1 of 20 PageID# 1
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                                       IN THE UNITED STATES DISTRICT COURT                                      MAY
                                                                                                                 '  S 2019
                                       EASTERN DISTRICT OF VIRGINIA
                                                                                                            CIERK, U.S. UlSi?I.Ti <"OU;-;T
                                                                                                               Ai.EXANDRiA, VIRGl''
                             COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C.§ 1983

                                                                 Action Number     WfiOi-noMl
                                                                          (To be supplied by the Clerktu.s!lJlslrict Court)'

           '■'lease fill out this complaint form completely. The Court needs the information requested in
           order lo assure that your complaint is processed as quickly as possible and that all your claims
           are addressed. Please print/write legibly or type.

           I.      PARTIES


           A.      Plaintiff;

          1.      (a)Ccir\<J5 K"                                (b)
                                                                      ZQ(oS\3R
                           (Name)                                        (Inmate number)
                 (p) \05TL0 3^'(ogt\T)n\/gi
                           (Address)

                       FciVfcy^ .            1ZQ-30

          Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer
          or release. If plaintiff fails to keep the Clerk informed of such changes, this action may be
          dismissed.


       Plaintiff is advised that only persons acting under the color of state law are proper
       defendants under Section 1983. The Commonwealth of Virginia is immune under the
      Eleventh Amendment. Private parties such as attorneys and other inmates may not be
      sued under Section 1983. In addition, liability under Section 1983 requires personal action
      by the d'ifendant that cacsed you harm. Normally, the Director of the Department of
      Corrections, wardens, and sheriffs are not liable under Section 1983 when a claiii against
      them rests solely on the fact that they supervise persons who may have violated your rights.
      In addition, prisons, jails, and departments within an institution are not persons under
      Section 1983.


      B.         Defendant(s):

     1.
                                                                 Fcilr-fcxV.
                (a)-
                          (Name)                                      (Title/Job Description)
                       [OS'Z-O
                          (Addres'j)

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     MAY -t2019

CLERK, RICHMOND,
       U.S. DISTRICT
                   VA
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 2.         (fl)                 S^Ci^Ci"2.2-                                        o-^ rCo«~-M3"W-. Ccsrs^i
                        (Name)                                       (Title/Job Description)
            (p)10S2O Tuc:iic\o.\ "Driyg^
                     (Address)

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 3,                    LisWiqo                                   Ch'c-T        cATc-q\
                      (Name)                                        (Title/Job Description)
            ^p.) ICsS                     T^r'\---/e-
                     (Address)
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 If there are additional defendants, please list them on a separate sheet of paper. Provide all
 identifying information for each defendant named.

 Plaintiff MUST provide a physical address for defendant(s) In order for the Court to serve
 the complaint. If plaintiff does not provide a physical address for a defendant, that person
 may be dismissed as a party to this action.

 II.     PREVIOUS LAWSUITS

 A.     Have you ever begun other lawsuits in any state or federal court relating
        to your imprisonment?            Yes[ ] No [v^J

B.      If your answer to "A" is Yes: You must describe any lawsuit, whether currently
        pending or closed, in the space below. Ifthere is more than one lawsuit, you
        must describe each lawsuit on another sheet of paper, using the same outline,
        and attach hereto.


        1.         Parties to previous lawsuit:

        Plaintiff(s)

       Defendant(s)_




       2.          Court (iffederal court, name the district; if state court, name the county):



       3. Date lawsuit filed;_

       4.     Docket number:
            Case 1:19-cv-00562-AJT-MSN Document 1 Filed 05/09/19 Page 3 of 20 PageID# 3
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                  5. Name of Judge to whom case was assigned:



                 6. Disposition(Was case dismissed? Appealed? Is it still pending? What relief was
                      granted, if any?):




     ni.         GRIEVANCE PROCEDURE

     A.       At what institution did the events concerning your current complaint take place:
                                            Dr.V.-
     B.      Does the institution listed in "A" have a grievance procedure? Yes[ ^] No[
                                                                                                                   l-      J H                       . VJ«. or»-».
                                                                                                                                      X                    V-.«kS
     C.      If your answer to "B" is Yes:                                                                              >^
                                                                                                                  ^              s*..n           .rv tKs

             1.        Did you file a grievance based on this complaint? Yes[^] No[ ]
             2.        If so, where and when: QctoU.r m


             3.        What was the result? x-v ...s                           . x .c.y.a

            a.




            4.        Did you appeal? Yes      ] No[ ]

            5.        Result of appeal:      o-e ^.y c^p                                              . rAr.v.r .TcW^r
                  W Cy r>.o.>VV^                                                  r-r         W-«^^U.A■ u: A            ..oWV^            VauV     nth
                         I r^n                       " Ir              u<^r^                                              j-.isuL.-

D.         If there was no prison grievance procedure in the institution, did you
           complain to the prison authorities? Yes [                  ] No [            ]
           If your answer is Yes. what steps did you take? x u-x.,                                        -i,.                 sw... S- K-,"e,i A
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                                                                  C.^r^.   U.C^Wrv^\        tArxrV, W.^tVgS .              T


E.         If your answer is No, explain why you did not submit your complaint to the
           prison authorities:




                                                             5.
                                                                                                                                                                     J
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   IV.    STATEMENT OF THE CLAIM

   State here the facts of your case. Describe how each defendant is involved and how you were harmed
  by their action. Also include the dates, places of events, and constitutional amendments you allege
  were violated.


  If you intend to allege several related claims, number and set forth each claim in a separate
  paragraph. Attach additional sheets if necessary.




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         Case 1:19-cv-00562-AJT-MSN Document 1 Filed 05/09/19 Page 7 of 20 PageID# 7                                                                                                 • ••



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            tl*.-(AoE. tAn. VAvaVx c*q^*v»s f-i A XhJqNj "sX-tV^* Ato YA.O(in tAp-Air-CL^-


                         iAvjVsfAm'rrnciA vjCkS s*.rd At5 \Ao.'\n VAe.A'tt.^A ojV cvporo^'rr,c<Ar\^ HOCi hrS..
            Ae. xAfCiS °n\A-Grc<jiprV.<_A ^c>u 5ci+« tA-cV'ftson                          trx-forrv^<A -Vk<s\ Ks. najgcl ixcsV
            SXACiOOSx- A:^ Vox, onr qc-nr-'TV A oA -AfM.q-Vxr<\< erf                       VVoV^SOO 9SZOf^<A VAunqtYvlviO/ri
                                                                                      ^                  H.V                           -«      h-

            -Vo VAoxrx \A.X,A\ncvA



                LTce-r\i:*.A PrqtAxGc^V Hors<- ^\^G.9.o?                             A\r.FrF.-W. cTitt* r* d " -fo V^H- MuVxaOKMctl
            ^qA- V^A\^<;or>                 A=> VCqSqT 1            InAroAxjirAVorx                     'S XrvtvicAe- yAvAAc,r¥tn<a^v
            VAe. fVei'xv^S U*- wPi<; "Tr^xjr-<.A A>..r\r-\q Aki_ excpf-r'S-a. ec.t-\Wr. \AviVxotsf»rv\«xA                                   4t>o
            pr> oGCv_.pv-e,A w'-Wx                         <:4->-'x'Trv^ An ArsVercAt. A\xjt, qAAxA p=s?ri |-+k^ i^,r<v<C?U"
                      (.-frbrrv cKron'^c- pc.'ir^j gtxA HtoliSson^ q.^S-tr+u^ri+Kjia-t~ U-c. r\<^Trvv« A
            vAjci^            A.,. ^4"o-H-xTnl-J- cAnexil" PAtjllijkon c.ck.lirri^ najUgA" K<_ umC \-f.i
            ■Vo k«\T-,xi*     va.(gC. n. s^Uc^kx. Anv^fs           . n^r\ ci-^cjic-c.Vsr

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            Case 1:19-cv-00562-AJT-MSN
                            VooV=^^-A CyV Document 1 Filed 05/09/19    Page 10 of 20 PageID# 10
                                                               ^:i\A no"\~
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                E!o Pv t O*""                                                            s                S&r, tAr^ TA.M^C(tv^r^<H(^
               c«^ cV\rt?t-i\c_ V-\\$-h=>rv^ U P N)                                      Kc\$,                     tAv\V^ c^wSrv^cvjA;                            S.
                fv\t.c^s -foi- cJrK^^s^-^ ^ G)-cV t>^ 'tVvo; \ c.                                       ^ •^♦crs          arxA *i s                              11 &-wqr>.

               trE CAu\r\cn>m(v\evA-C                               TKt, <;uj^\\?n^ "VUa'Jr Kc,?;q" 59W^
                rA*"« vAvjiVT=vTvitv^e\*:i's pU-asTccc\ (i\S \n\\   arvA cV^rov-S*^
               O-ipor-Vv-i pcvNrN \_ILV<_\ c;rN^ "pV^ (AcrVon-cv ^^cA "t^pqc.V^. VCoSci" p-r>-Srr?k^.c\
                ( wiVv-^omY"                                    VAs, 5upA.rV\sorA-V> l\ Wit-rVV^                                               U.Af^'f i"Kq4
                rA.saV)Ci ro^'^c^          v-jqs    <-">C.p-prT<r\C-'\^G c,..
                                                            1                       V
                                                                                                 Csr-fA^^cqrv-V qr^raurCV Cp-f
                                                                                                 *Ni                                                     1
                                                                                                                                                                           tn ^
                V-Wa_ ruiji A -^r                       Ax3 go AXd cin Cvv^J^J^^n,f «_^ P.oC5(v^ .                                              -^fW. a tr«iVcW.;c e.y>
                K«AVv«imvv\qQS \r\c^fW. cinA sV\ouv4jkr oXl bo5\Wv»A \y\ b*                                   -^Vvflfh »«mS .s&w^.rfyuu >e\«J-
                      I hoi' rSrVA Ahp. Sv4e\V°rin 1r*cr<.a<;e)A. ^VAhQ^^rv^RA!£                                                               r^-Wrr^r^-ke .
                t.AvSQr^'Dcxko.'soo, cvcfKceA A-Vu?. ne.v-J 5vsJe\VTnr. an A-PrTc»A-h> U^An
                IAvaVncwvivyio-A - 2::^ -Vv3r-,h, vjrvV\\ lc«A>r AhcdT rnciWV -for- PA>.jiP\ciTYinnr>^A
                rvvaV;-^         -h=. tA^A"cc„V. ^1\\ V-v^, wns rNcA Sca-P Ao c^ Ur..^mVc.L l-Ve^
                                     c^r^^5H-v*^ W=\q o-p"1cLe. r.. .-^Pi-rV Up.c.\^ Ao Wi^ t\oC,h . Tk^.

               rOorn\nq ^A^V^c^^orvlc^JA r.oppnVr.Ay>b A <3»r.r.\'r» r sUoNpj*nci                                            .^V^p^v)\AA^ "V*-.
               tW, P<osA IVpoVo olaA wv8_A 9^5?; q^jrs-c ,                                                              ?ui_rrV- 4i^ rA£AnLQ.\


                                                                                         u


                    P-oK/o SoiTv-i 05c,-kA                          O-Ovrvnlrv^-A ^A'^i\^^<-.fvl^vlc^ A | CicvN/^. Wiwi ^^r^Vr*lY^ "v C J! . ar»A
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               rrvcAs ,        tv-itx.W-'L. 5Vil*f"\~       \ ? n G -frt~.TV*\ cvj <3C Jl/ t-i ei nrl ctg p cSn,<-l ^ra\f2p,. ~iVvj^ -follovs/'og
                Ac^ tAuV-,ctv.rv.r^A UJr.c ^1v«n cciq qcA^J^^A s\'nck ^Ur\- sA-tW                                                                hQ<;pfhq\
               v/'-StVo t-V^^n -Wie.                            C^hich TAv^Aamnae.A '^nsls-hA wc,?> \ir>Ai-C(!.<:sc,r^
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                               \\o Arv_£u>J A WqC \\\OuVv» rvjLTV^ Anrooiq i.                                             jcclx- A •.pa                                oo A
                atnvjsc-A- or              r-. Aon ■+-< or5 ) WQ<, cunoAKxT                       qc+ «-rP                     rojh. ^AA?-f€<OAr/. .


                      A^ o«\r€cA^j pw-V -fci-A-h ^ \Ar„ tAuVlC^T^^rA^^.A ho^ \n««-A ^?.)AN/o\Ny«A "tri
                KcaA 4^                     ^LOw^VlU.^^ 4r-CurpTo^ ^ COWip^-p^A^X/^                                   ar^A ^^Je^^h4- c^y^A
               'izs\sA-«»ncft. Ar-ct'\ni»-vft rA*r>'5.-V- crf^ U".s r\-f<,. Rt. Ur.«. -VtoCA VVOft.wtrAift 1 r\ U'S \p-f+
                                             J                                                                                         >       MS>       1M 1

               o.nUU» qnA +orr\ 4-*iSS\j<. 1 n Wi-«^ Ip-f-P rv-s. Att.\ -VV^VfsP .TW«                                  on-f*.r^.*' \tW-ft. poin -firirvo
                0^+< <*t- Is unnaTS'+ci koinVs . tA.'.i'Aamryxc^^A AjsL,55r.r'ik)e:.A \n\5                                                     Kg-^c,"! cinti
                Oqq-P^ hiA" vjo-ft, "i^noreA „ yivAhon-imo^A U&S                                                  A^nr o A -Vk l-v«nr>Tv\B
                "P & rv-^'s \ 1 q r" G.n4*h "fW^ p«'P» 4"Piq'V" C r rnmnr^nvjCS njirsyi- Aoroar,^^ j"® kjt-
                                                        \               .                    '     3'                              0       •

               A<..scrt\=^jtA lAr -ho kc.qct " Os«^4o ', Sftf+ K<n-h (. 5ucupvT «.or of ■^w^s^s j 't T^To
                                                                >               1       sj                1                                          '       I


                           \<c^'^v^c^Af^^ C of- Fc*\r O^ihs                                                                    Nvjrs«, PrB.che>rN-M-
               Vsl.yrt ' "hr \A°c.hc^A An-korx-?!-, ( Or-fVo^ VTraTntO " Dr„ LTshqm, \<sS5a.'
                           1           ^                                                          ^           1                                                        1

               "Cir.- ^oncjhhqri A\-£<rA' : V<rct. C-r°lfi.5, qn A Motor SntaA^r Gaci ^
                 -Vo 5          +o         V.4- n'N KR'^
               n-xoo4ks idAo "fLXs, f\<;s/../ -ii.r All? • I Ar><f                                                V-sc\n/^, ojr\

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     Case 1:19-cv-00562-AJT-MSN Document 1 Filed 05/09/19 Page 11 of 20 PageID# 11
                                             \      . cV-trranic. 'v'a'5^\'sS \-^\S ri«.cVs As                            Pi^ci Ci-f
                      Cc\nc, :W^c^r^ W^.a^c^s mlsVe^ Vo                                  V5v^_'Dr'^ KcvS.S.cl®^ VAs
         'SiVaom\^€-^~5 c\r^A ri«c,\:^s                            c,re_ ooV_ .ooe. QociAkA- sci.vi-i-t. qS K'^SScu
         (v^aAe^ VAr© MuViQvnr'nc*^ "W \r,e\"-<'^e*, wWi-ciO 9-)Vaj?^ -VoVA, Va"yv*i# "rs
        t-V>,ci~V U" a ?;Uou\Ajir "ropAnqprnf nA-' Y\re^,^n\> A WiS. riJ?.c\sS-f Lt.-x-^!u®\f-V'\ ,.
                                                  EtfkevosAnorN          0-?    L«.Oiq\

              W\ac,t-i KluPSt. PpQ c^St^iiAo I- V-Jvii-T c::»n4- VA-aV-iQmrvof:. r\ AccW 4ia F&?r~ OaVcc

                                -iii \\~'LC.~1^ -for rjiAoAV^^r "y^pqi^i (vP W                           rvO.^ft"             Aj?.r
                                                                                                              -f-:rs-F
        a,\.AWAn\n          Wx.A b^.r..o r s^V^\oV\sVv^A Awo                              WAoPt,                           Xtqi-*
                  ^                                                                 -i                                              J
         oJr Fc\iPOc\V^ Wo^-CK-\-q\ \0, Fc^\r-fo,-x , x/t^-nXtAm . -Wicdf Wi c, r'cKF qFoiAAoP
         \r\«^A P»C? "Fr^ crVvjP-r S.WsraA Wj?o «-* "VVvt. c.otAc\'o&\or\. VAv»V-\r>.»s-
        MCiS SV^oVkirv V-i^-rr.NjO, kj. v^GA                           Ap\irJr, Ws nrr<\ i?r»VU T>p < f »-«k i r T r>\C ,*^r<rr Vv wi?
        qw^'N ats o(-We^ \ft\o';;W*^..                     , CO U-"X(»-\? .krcuoWV r\?\/si ?vtr\*fNr».               TAr., M»ikr,n«,v,r. A.1

        ■ fti^AVnFQ^ ^AV^^G^                 Arrr'\i.,A         "Dn. L'sWcPv \^ftS£<X- ^aS-Vb k'<; sIwAtUf- KjW* ^Knulcki^
              —tii.ok's ■ r-OevSPf^^ -fcsr- U>\vvj rtv.oi'Vii.-rH^

                                  "Dr. \<e.CSft.-fbW Mr« Mv.k«^nrtc^A -Rs..+ wU^-f A^. CoU.A " n;r,U-CU'«..U.»-



        ik_F2j^aai^-k+1-* r-'ijWt- jM.c.+r>r^\ rviv.^tU..(Xpi Wft\/*rvi\ft»r XOjTolR              Tor\ft:+t><s.n AV-ferf in-fer»v-u_A          i
        l4iA\aa!amss.A+\soF          rxitk. uiq.< Itbk parAiJ\v.'^PorKyfti                 wkc.W wr,ulA U. A.                 ,^...L.+
        Kir                 evs F'rf A .«-o-Hr ci r--,t-v\t6;\ \ nr A ft s'j C 0 UnPa +ri o H     OS.?^r rifrc-V+i. nnFrflr^V -t" T f" f.
        .vyklv^-V yo«\'^ r-«,op«^.-.-V -TmcAxto A os A^-onW.A-. liVtji.V. tkmn'r .'

                                                             jA«*.Vah«aL


        iK5^_a^52>i5^_a_v.vin       «'^pr<ss\Dn, ArvfVW oj«^-VdWo on n-t- ..r-                                                woe oU-.>.-A


        lAia£5illa.^v^r4 ,s<c> htsA 4t» ArUv rxoVltreriA kis xkh-ayAtJ-S nft. lt»OJ\^A .        KciClTa CrrA r.t^ »rrvsn««..c


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        -B-e. Kcft MJcV teLAA.O c.\\nv4r.A Ao «iAR. 'tV WmV W.. r\<r»vM kftfi \\y,. ypG^^ «->0 r'• "bVT*                  -W, US r-i

        ^2am^^^0«.WS-TV^^. "Ci^rMon C-<vsk»r v^lW ,^r,+ klJr^ W.o-,                               4-Us -U-. -lVt                    mA


                                              ^"^K^i'osVvt^VN b-f L.^.ne^V Q«.rotAXa.S C.I^X




        V\GN/<- ci,\so Pf-fjs.jA-hi Gn.<iw^ - tVc^p-h LH Avr^._^-,n^wWn                            4t,        (Aukcmtw^^A
        .G^\-<VcnCA.            «inA C.op+Ci'tn Ella-«rA"^ wko clftitvxcA +kAA- MuUcrw/v«.e.A Ue.A U«...                      o,r\
        c^JiT -fcr Ka.A\Cc\                  - WjV -fk-i              --JOmIA Ar^iw. V\\C r U\fN«. EIL.ih" ft\«'n 15 A^A k«
        5V;^nor5 cir\«i As/gU»vV\n. r*.-K.S«j=J -h»               «^. Ak» r^otv\j r o-<^ 4Ur<<r. s^,U^              ficA~r.c-iL|.
;*
                                                                 II
        Case 1:19-cv-00562-AJT-MSN Document 1 Filed 05/09/19 Page 12 of 20 PageID# 12
                     ■^r -W^rioq                v«Vq.W cu-pf jSj)r^^-m\n^                                                 sWo^^iAs-O                      r^ r'>^\^^ d^WiA'j
                     Cf^ cV'»\>p\'n^ c\. p<^oV<\r                                 «r.A A^tAtk^irwj             n^UV                      i^U^A, t*n^                             osV^
             •

                     \<<h5So^ 4t>                 ^I»L "Vo 4W*^ KDSp*\"Vn\ -for -VKt, Kt(P-"X -VKeCV wtfiS r^COMf-^o^AA^ or\ iD-n-if,
                     Wj*t i.if.C               Vicrk. -f^r                                          ^-H-^rt S^rfV" -Vh *VU^. ffono/. fir+lnoptAls-fj t>r„ VAic.W"i<,\
                     KnA-tori'ii-N ^ wUtt Pf-foifA -fo T>Cf:Miv\inci-VUn-^                               slntfjV<iAf* W.», r>.pciVCr,cl ^wWitU un\l                                 qIo^UU^-Vv.
                                K-.i                       ih-."                                    "                          '           '                          ^ ^
                                                                +V«-
                     ViW               -^Wj.           'm rO|^                          .*^V\ou\Ajr Id\«.A*. ^-VUfe-V iS nrfV n^uicU ( sW*.lc'rft\ xS                               -Vb «v.rv-<.


                              or r\Aa OU+" rvAJjiilo
                                           v<vy •Kx*, raviz-rc o-f a yy^^T,
                                                                     rfXfiiXvN nx^v.'--
                                                                               rourcje. U\.^
                                                                                        nw A-rci!Tslr.e
                                                                                               xx xin^ vtcxrsi .nt^
                                                                                                                 iv •Fcx'+kotv^'^
                                                                                                                     >




                            \W\c«. N;*r<.^ s.<!x<vie. or-V\-ii3^ffA"*:'^ ^ \A'\cJnr^(-\ A^nVbrxin ^                                       ■^inr'V\nx -Wxr. -^u^pwslVxrjn ■^Vxeli'
                     \vr. V^e.\V\r^A -^VxciV                        &V>oxa\A^r "V-tcxt-A'A rxti^ rr.me. -ft-fc.is/-v-VU.

                     QSSQ^W VxU -VWoL. ^ci'*rfc\>c. Cr»Vjr?V^i SWr1-ff C lrvirq<.r>c.-» ft.'CS^o^^S4< T^^cvrvj
                                           J                        '                           3                          '       Z)^                y     ^                '
                     tAx^ikovrrxr>r,rA^                         pTiOsA" O-T ■+U_b . Snsr^"                                     orC Trx ^AhrxTn'sVrcdrw-f. 5vc^C"0[CTHon
                     C\,VV ^V<V 3 rv^crrV-ks^                                             -VWtS 'rvdrloj-NV An&rx.'^p'lOjA.. Tk'iS vwt^qoS V\<.
                 -




                      ktA nc^ +Vsj- mtArx^ rxr»r "ii -Vku"*. o^ r»copA rr^ U'i;S At oi-i t->fi W\5. r'lokl"
                                                                        1                                                                                                         \j



                      ' "®*^°i''ktn- rxj^A" etv-xA mj^xjdiT^ WxS sWt-ixjlAtr V->\c<i*- \r\ V-»'iS rv»tAiC(^\ CtCorAs.

                     ' TAuVxciitvxfVNCvA v%/a5 -Cr.rc»-A Atj r^is koick A'Cx SAiisrk. anA Wa5. -foiWn ouA"                                                                          -i-W^.
                     ■^\e\A SntrrcK^^                           ^ritsr 'irxlUrui AcitS rxrjV aWftW Vx1nr> Akt.
                                                                *                   ^       J
                                                                                                                                                             i-rf                                  i
                                               nj»-^jL.sscin^ ksf- -kV\ 'xj'rN/tCji-. lAr. M>aV,ftrvvfv,&A Cg»-x oo \orMs*r
-

                     SkrxA -Wvo-. l^Vxi^ 4-\r»q-V'                                 c v^j'AVi qA-n^iA\rN^ tat" sriAk"^^ tjp -C-.(- \i-».rx n Vv(-.xjf3i
                 '

                     TVxji^ aAo</A \*■^VxJr\■t.? -Vto W'S in.. c,W , rxnU-V n-A-orkr tSrtU'V' rkr-\)\«kr U^e, Ay
                     <l»\A Js\\y?^xAj                 -QyrVk^r \xT^'VV> Ai^ Wv5^ VSqWt arrrt..Tki. .<;cmiT2,kf.s. -|-i\x
                                                                                                                 xj                                               '

                      Spr<^'r> nrxA +kjL. rbrx■K^s^^^^^ rp.s^jlAtA AroPn tAr- tAuKa*Y\r*iftA ^vjko tS
                      ^r^sr.irikA ^r^Wo ^ fA irtVorjAAWiV-\nyr "VkoV autrairrhejLS K? krt/iS^i
                     ^,a<;\\'^ G<. p»a. qrx^»vxV r.^kajtrg ■I'+i^tr .^-VrtirVc ^ xACiAfc-*_ri arouOrJ t-^r-Trrirv-x
    '




                      pjf;kju» roociVvLj r.r.ex\r\^ -AA-s^ PoSrV'S+erkbr^ f,r csA'^w wql\.
                      1                           J        -0                                                                      ,             '^




                           Orn FpTAq^^ ^ \Aarr\rx V ^7C1\C\ ^ Q-fkeX F7 rvxOr-fVks Sinrc, -VW. rx«-.>w irx^xjt-xy.C l,.ll.ry_
                     SosA^xTveA —                  or\^. rrsnn^k sVxxjk ctF H xAeaCi <xrxcp- "VWj . nr\o*xt\c;\ tOVvjrStS - HvjkpiMtnQj
                                                                                        ^                 sj                                   -mJ           sj

                     VJqS ■kAV^i-^ "Vfe Ya'tr^^v-X                                              v-iVvtri-. W Ssj\-iyvxAA* A-ka dx>                                         /\Hkovqi-i
         -




                     •AWa, r^^lArs v-4®\\ W<xv«--Vo                                                 soWtvuttoA "k? kk*. Ct^^r& trifor ( V)^rexjca.
                      kx, V\e^<        V
                                                r> ro :x\yi>A-AKja^ Cbpu Wa. r>n«.yy»rkA -Frr^rvq
                                                       •                                        »   »j                U
                                                                                                                                                          -V-^.c-VMrxjcJoo.            '


                      wWo             t^ias.        'rV Is                   "H\a-V +Wy. ^tailn "linx Wi £
                      5\\-xcM\A*r I5.      -Vn rvpT-^t Ac<rv-iQ(^.. «^^A \rN Wi 5^ r'l^WV ^sktoo\cL?.r U\c(Ax. Tkj.
                                                                                                           ■          «                                     V>qflWy*tA
                          PA»|^,"r.- +Fs<,         r\fl.\>rr»V-r)<n,.\jrV"               T-C. COtv%y.^ju*-x Ay A          V'"^      "T.^S'lU     ruL^^-fr         c.c»-»*Vfc ??c>
                                                                            ^•j


                      Vc \s A'iCr\r!.<H 'nvxYshS-CxkLe.. At? k.W V\ow xvxock rvtr-v/c. Aciwicit^^ tx rutuj. Yck
                                 Asyr-FUjor CorvoA-^-/r>. o-F NAc.. Mxjkcirv>rvi<>cl.^ -p-korqC'C. Sioinj.JT oroSCiMfi'/
                                                                                                la                                                         r                 r
                                                                                     i


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                                         UJCiS                      "VVnjl. rAti5\<Jui A-^JpM'VTtiS.                                    W'l'S-
-
                     <itou:>Oi ^                       AVvA.\r re,cor^s                                 "^V-^tv-i 'i-V                  cUrcn i CpiI \^




                    .aI]e^_Ce.comv>ne,ncj<c^ -Vb                   -V^ken v-<?-Vh Xr>o^ or-                                . Tr^ <4-rt.c rrNt^4-Tr>x■ ^          c


                    .BjoySiLsA. .A'Vxc.rctn'u ' Rr\A k.nnV/"jnn "Vkai" kp, n??,<rls                                   r.nrl-f k e r>r-r-Arr          -^n rsn f t-«4-
                    - ic-^nssj            K«. Cno rrvriVlwiY-^s* pk-vjc'f.o\ r? k. n                     ^ko-Woo c^rsA ^v^?.-^^lv^?•> ^ -fkr                • r l*. r. f*i c .-
                         —re. - cr- -foH-kxr-- ®r»R7t-°nr, \r\tiV-\C.?'V-f.» \.S A^iAn,?rtjMS -kr, C-Ac , ■\-\^, ( 1, 0(,s+


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                     —7TAMVAc\v>Arv\cAjA UgS \r5f<?r«) rripA\c.Q\Ui re.sVri                                          -TrrjcvA ^:V\^. -f\i-.r^t- rvT'rr>'?'>^
                     W-g. sVov\A no-V                     -(^ro?A -\-A \r.^                        Ur-.rA cv ir-Pr.ce.                                                          A

                                          J      "Se-cn-xrvAv.!^ ^.jOitVs ron*'. \r^rV;f A                     i"*!" n-^-
                                                                                                                     O    -V
                                                                                                                          -T Wj».f r" C'r^^V\<^, *T^ A-
                                                                                                                                                     ^                      ♦
                              %<. cc tA^e.A "Vo \r»v^i Ar-KJO txtV nrMi no\n*\" ctF 'kk»P, A                                         i V^«-k». ;.* o rA

                                 "^- AC? OO V^o'.jr.^; AV                                oO             K«:4r-A -fVt^nr !--.r <«.r» n- .               V\.#v>(-\n




                     ,    ,                                   '                                                      ^                                                  '
                     Oc4!a\\\                            Ijgi f Ii iii I|I[ w.lii iiii                          Be.mTNVs'xi-vr, r-.fN                       Mr

                     rAo.Vvnt^w\«..A ci4Ar^sc;^A -VK\S vSSVJe-., vo'\-VV^ V^«.A^c.&\ ^-fvnv-iv-,c\\.^i . Vni-
                                     \n-?C)r(>oci\kii.>jW                 "wciS, As^dAwra^A -frtiw-i "VW.^ V\9A\rG\ W^k^r*
                     on                                                   0<^nA-vj            krA-f- wAA.rr. S-^duA -kW«_ \Ss:\J«.- wkick

                     yv~,c^\<-«-^ Ce-r-Voim -VKeoV 'inTVNr.-kp. M.vjV^p,tv^rr»c\A ritrk; -V"ko. t\zA\hCt\
                              Vs\S                     Cp\1                         'H-sj. "Vk'vV^ fv-»cs4Vr»c«: t^rt Vk*.
            -




                     k-/n'^T-V^^^^c^A^Jv -^k^.e: Ar\P-f, rNrc>V n»'S.tsVv^. Ak^. . t«. «;VJp, riAp                                          ,ker.c3L'jS(.

                    tAMkoivYiw^riA \5 -^k^roA 4t-^                         isr \a\A «-.n karA                      ■r-fr.rc' .s 'F\-.r ?\aW\- Vvtwrs
                                                                                         J                     N
                    v*jK.\dk> rv.£.dAV%,ss\i . Q ^ar-rxsirA'e'S, k\                                    rk^^.^^\^; "in^jrVeS^


                          tik-V-tr V\t, WQ.< -Vt^\A Ats c^AA^pS.S CV^5'SA'^*fCci\\ten Vvo -wrcyV^

    .   -




                     fttoM, qA-                  V\viVvcv*v\rvdoA.'i rv~d/r<A"                     n                  » "5r<5fr^..


                                                                     tVo Gs cvr*         ^



    /o              M«dA\re\\ ^ ^.^k^oV^ VrtiM^Wr rjVM-iVlAr AW-t.. Ce.c;^r,rN-Cj. r,Pi Akji-. \^'vt5^<-C                                  Iriir^pdreT? C^PC
                                                       A<^\aS r<iy<^
                    rv«»W 4*..-T-iA -Vo               ^s^.-Ai».>%t:t.<; ..TU^ rteClytSA' Vija.<. S.*rjV "V ^ cv \<"voS\< VVl-l? e,r>A

                                           ^^T>a-V^A' .              \\-\-\^ 'lb pbioV^ (J^-V tirV                              TtJvvtrSkM Scurrv«^A+
                                     i                                                         ^                                            kj      <j 0
        Case 1:19-cv-00562-AJT-MSN Document 1 Filed 05/09/19 Page 14 of 20 PageID# 14




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          -Iro                                   Oo                     C R.<fly-<-S-V-an           i jW^AV^qpim^^ci
                               A V4vjr° -AKciA*              5^0'i A -H%o*V       \/-jriS. S t-K-e AajV-Ij A» Ab

          Ser. ck. r^(^, irn\nQ\              - V\«- wri-<; Pit^ -^e-en           c, n(?urD\o^'i.<;A on-Vi)



            TW u- (.-V5?                                          f. W-a-i-?: L^HCMA
          Afi tAf-'in tApA°r<^V -sj-"*«. K"iO<,V^                                      r ff-v.aTO^\p r)F
                               arsA Ae.f «A-gAA o»rsA S-VqCT-v.! K * Psr c/i A 0\'r\ A Vs^PQ
                                                                       •O



           \                    j                                       O                "J         \

           or- V,^^^^^■'^^^ri          n ^ <^^-'5. , rO fnoVr.'.rN-V"< a\.^       r, ptHxa T.
                      J          O     "y        '       *                        O




            On 1 \ ^ VT-- \ ^ 7|> -C^^e^A rt n,tT+k.r- r(-.irv(^Vr.'irAr-Ato T\*iA^co\^
           / ^p<r><c:\^^rt r\n\,» *rc\ttrr\~ A-r:) -P'.l » (-. -(^nomql rtr'\-<^OTV?r.„^TVN\c,
          Ario                    "'.^n.r>r>A ^ o-VV%_t rw^ 5;p , "Vk* Pp, v-jr><jVA                    AWs-
           rp p,vpDns^,                      v/'jpn. CV?i t. 5^ or VA&W                       iAj P C
           M\0'3r^ , "TV^ oPkU, r^.<:.por.s-P . wr.A                          rvoAtA .

               Orv \^n-a.o-i9; ^ cckrvip\c^',r-.oA -Vd                             VCrrvk^
           nf r\\\r<,i^<i r».loc3cr\~ AVs^^ \r.c\<. erf" r*. M-Q «sT « «7r\A prr>po P
                                                                                tte-
           App crVwi o oA~ j4k<v-V "l ^ f. Ck                       rQP-t. . ^ r                           okn
          qV->^mA AU« Aol cV AUfA- rr,ri5i.\A-«Aoo                                 Ce.c,'VT^\e'f\t-)'rs -TtD^vn
                                 UvVS            -J                           ^
           Uvj'in^ r>t^AUjL. A\onr                           V\r^\-,<.eA 'm D. ^^c-VkOr^ r)P -i"U i "!
          -fa r T \?Am .
            ^ ^   *   '   '—




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/y  T
                  V\r^ rA.MK«»v^fYkoAk 5^toul4ji.r pinA tiacW Qpf. s-ppimA^^
          Ao -V'o^/rV-^ „ A-k-k             f^r--V" - O ej'Oivjark.i Up            r^v.lA fv<-r+ -pr,dwr2(. L ...
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                       -r                                                             A__gnA

                                                                             QOQ.^CiCjZ.    Joaod

       -•^o                 OQur^U^-.r^WjL^                             pg-OpLg-. pcftVir^^.
       sV^oslV'^rj_slci„^p\n^ _U'^yy^ pn.-tk^ bc\ck. _-_or.. bumping
      icilrvn^.>4/::L-Ol\^d_

       too.::Ba             Innr




          ZCbl^ vs4,q<; -4-qWf-r^ .a\jLj                            Vt°'ro                  . ■\r^^
       lag.M:Ln^._i^o.,.M.RX„..o^nAur:V^«.,Huht^'^tr\cij
       jrt?Ad____Xr^.J:r<c\gga. ^ S «tr^                                Kl.> P./ W g/r? T)r:.AfTi^rvn
                                    vjmKd .ij^o'ulcSi l°sA3^^r^ -AKc^. ArV^-e^
       fesi   rso
                    P'£ . ng-rs/g^ A c\ v>ogj^.                         LX£Ls:J^.kfi.Ujfel!L...

         Hg-.                °Q^r^or-ciA _ay^d..rlj:\^,s\tDg.
                                                                          \!CJI2,AS» fio Q-^KjuT

       At),^^gA'gr,iTriTrifc_.'!tf^, oc-r.-sic Ac^Tv^c^o/^n■-V^y'o-AA^.^V^r^^nry^c^.ci■£. e.\^fa'y4.. va.
                              '■fiir*- .TyW-fc f ^ctf C^--V\P--         .jpy^iTv?^, ■_f\jt.cJ^.^.
      :Sb^l<^X^^Wu^AarJpA.aAe.-^Wjx(r_kacki-^,_rlQt^J:)j^_QoA
      't<v^Q                                                      Wip


          -A2CL_MqCGb-SL^^OX9
      ikJL..        ne.CcprKo.r^N.5A: .gt.                                                  __pq-tr>_'t_S
      rnbP^ _^H?>cir\.              W\S. Qg. cW

                                                                  IS
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           THe. Cig.v4 AorOAt^g,^_rgnpor'^<g.A. oo_lD:rX ~-V^-,--C&r>c^rr^e.A__lAr- VLtVi&n
       rVjf^ g^V>ovj\A^r...Ar)_:\'V\.e. xo'VosrVp r,CU^-f                       -sVvjaV'^<-r_ViVoiAa..Y
                                           ° n^VsV' gV\3DV-j_ an<^ g^-Trvp\a.r__cU:i^cl_i-iG.ll^
      -jrUrpogV')


        J\M      ID r^-A-'^ sV.a       Sso, &r4crf.A__G r^ ■ ■^^Lv.X                    A -nYWety.
       ^\^"^'=Cn:iA.A, ■Pn\,<^-:^c^,                        atjrt (^XVve.. _.sV^-au^'A)Lr ^_.fcilQt?vo ___
       t^r\A ■cUfcu.AAa.r V-iVc^AiL<_XV^crV, v>^-Je.Xn^uPiLc4._V                 \r7-X-A?; gS.Sq'jW
       vS_roc^-WA ir^ Wf                 WjLr _S-A'<:^-€^_k.XouQi5o<a- "A)ellKerc^'^

       .iiidj£££i3L nrg^. ~Vb. "VSr. nppA-S . rrf                   -p &:A'v ersV?s.


          Oo .AQ.'^ -.V.'5xr.._\D-\0.-Vg , Sf^-V.                                              Mr.
      MuV^arnrricLA'r^ 'Mng- ■kc>5p°A:cLl(-jj''ip>^ of Ha"n tAeAlcic^l Tronn -tkc a'VfirA'
                                   ■s-V-vt>Mg,"Vfa V^Vamg.'VV^e.Xrv xXAcr^. ■ ors YAvjlVn ciTntncmA.

       \A<..,SxtlA__A'V\rA' _tAuWc.rnmo.A Al A. f\t-rV_ _'tf \\ "t'kjL- jBooWrng
                -Kj5; __sVv>olALr ArM^'on^.,~[Iwo r^lnlny „\ofAtg. sucV^ n.
                    jAJ^Grynno<xA                       VxAl-t\jf            IPr^
                                                 V*                              fl
              pg-C-K               y^fA:..Q^ to_sUtoalAjr/iTnpTnyiTaiLr^ Tf^ua i l^^. ar. A
      ^A>^re.-for>—Sj^.ou\AXAsjiWDmrY^Q.A Pog.o!Hon-_V>-\5 .sV\do\A-^1_ "iVr^^o\f;rr>^rS"\"
         -kg._fv>e.crV<Or>g-A. .l^1_s__i^e.c\:4v_-.o5_P>A^ caArctfeA^.



                    ctmmtxjA- k'a6_-kia.g,o_ £.SCorlV&A Ao,^SeUc.rQl- .OsAst Ac^. Or+V^c

                -W'VAj.ij-en l^qs^X0J£.AnA___ScpVe.fyiWjr...:2-0\n-^_-Up. _Wi£ aUo ask^-A
       C/V^55'-^* ^OjVjp.O-_~:_"!^\>*^<jjyC'Fc IsV lAt. V^Q>.>qrvr\!Ciy"'^ X-Ao rgc-Vo*;^ V>^tv>
     Case 1:19-cv-00562-AJT-MSN Document 1 Filed 05/09/19 Page 17 of 20 PageID# 17




o
        -VWc. LovO Se-cun-Vs^                                                                     A_
        •Vq Vr-^ orv •'fW.r^Wr ^                                      ,9,r.t        Voc.\g<_A faujr_-fe:?T^.


        ^^>&r_XgLSi5C)S"iS - -^'^VNftmco           rpTrx^\yu^ 'yrs KAty\° r>^sVrcV\^ ■S^gr<.^,>-\:?o-r^^
        pfi&.'S-V O"^ W\S ConX\vvL.'r»v«.rr't" ^oaAv*.ig^, ip H-'LS-\5 o»'^c^ 5-Z'A- \'Z ^Tt^eS-c.




                                                                     ^v>sA'a^"'\-^':^ .."Sor '\V>^r
       JpIig^xCiS£i-s^ja^-Jsfe£t_ja^                                                 -l^aC-^.i;^™S''!Wb afia,G3fifjL
        re.^or-\fvn.^                                                                 cv^-t A- .s.!aiL^a£?!v^.
        ASi'iS 5\r.tr\S                     "v:f          weC< T^rSlsAnr'^'' a^A                       W.T^


               .!\^apr<A..^S,..P-tfe.5<S. ..W.Cl5                                              JSMSoiswtJS.-™-
        ^wVn5=>     9iSSHy\V«^ S^vvfO' .            --- - . .- .-^^ . -. • • --                 - -.



          JSi/4lbLA&_^^siWavnC¥ioA.=.5c/:rV__cvA--.-£'t»^
                          Sw.^;y^rvA-spJi--:foc . C                 o.r> A§.       TA? -y,^. y:^ 9.$. .^>5^
       3J2^S_,Wi&!:eA.,^„A^€-„£.frA ■.c^„.r]fcj:(ja.c^il„jikri.-iaj—                                      ro ."If?
             . Asj;X¥Ax.A:&^sn-^A.An^^r ^.31b^...JcVf:s:V.._di^ya j~^o!jV«.A. na
       ys.cHVrtn- r-tspQ<^^. ^TK«- ..^aVs^ SA^r^.d^N^cV "Vt v^as . re-Cii'sjcA , wsS^
-o
                                                                     -..       -               ....




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                    "TVv^.      rjf-,r\<k                J^etv. a... Ci-r-"^-sjrnr.rx»-. Form...i,oQ A




                             A.^o*^ v\—



                    VA'fs re.&ponSr,-Vo lAv.VvO'crvroftA                Cer^^srV Fr^r \Wt . r\oirv^-e<.
             erf                r>»<=.v>c->o.«^\V>^. -for TnVoptrNr. W\tv^ .               A«. .c.caj\A         Va. 0«
                                      \                                  o          *



             Crt'rolr^n \ CoonriVa'xOiV
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                                        vjCiS.'^"" TK*,                          AersA wt>vi
                                                                                       -j
                                                                                                                    "Vo

            ■^r.                             ov~.                    \^qi; -f<.)\\^
             (^cV\*3riS v<fcftfc -V-pW!>r^ sMpCf.. c:tni|)n5^r'rA-t. .''


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                     TVmS waf. OrA OoV ,                 At.rY\ci\ At) r^i.sre n^ W\Jl. VAcr^A4'Fl'CS gA
                                                             V                                      i(
             •fVoiS*- VvjVxn Vj.s?A VAv iVinmmpiA . c\A ca Av ^sA" civ,;rr>nrnj                          Aori^Sf;         . . .. .
                                                                                               •J               j


             l,.i   -fofA", ..wssi. a.
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                                       ,\,          /vcrC.TSC -qS Sn^-V-TraA-^r orvA T^DfioKj
                                                                                        t  3



            HerN.<^-t \ U«N/?, orirvi'iAAtA C lo<,V\®>^A VArjWo.Shri ^ rt-imTVM.o^ ~ VivA" a.-                             . .
            Ac.o\c,\ o-f tAr, YA'.iKcirYiina.A.'S rT^WV Ao                          o- Frr-'v-^M o r%rc-


                                A             fi^AomA.O \»inA^n                           SA"oiC.r^»nJ VC'nr.c.®A|
            (*.)ke-. ko.S rk,r-)'=i<T^ i^fsA At? Cp spciCvA firrA" Te ^^.^ATS At? V\a^t->r
            ;jq^V)c^r SWo.k&v?                      r.GpA-cx'\T-> ?A>-j-e. L\WrA              L+- C<^\~ k?x/'r>
                    •lAwA'av-Qt.r'L^ qo,A C.o\.on<.\ \Ao<-V:.                             \A-« .SerrV-

    i        r-eoo<.qA- A-o SWjjiA-FA Ktr^c.G^A.-'AkjL A^.«lCrlfAxA. .Ao:t..<; .nisA qWttW
    /y              ^                                                                -o

             inrv-\QA>q Avi rr^tt '\nvoc!A> t::? ..r <.A q ir^r oin\^A\-i\rio -Cn-nv) AVi°,q^
 u
            -fA OlsAv r. OrsCLc. T/\. .V-NnTrtrrMxA              S'fin.A' A"V^ oAW«.r           G rVTU r; \ C

            Ato AAn e. oWw-e                TO..et\A5orm^ oAA^c\q\£.                       AAn^, <=,1%^, Gr\SuwQA
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                                                                  -j^-A 'jOrg.C'V Jq && 3<l n"V co

        Wr°VT>      -CSsSpa rN<^ -Vn? tA>.jWnyv>rV)CuA ■>




         d^B,s_s£_i:V:i£=JlnxLA.u3iLjac<.sulA-^^                                        s r>,oY , ,V^Mr>.g„



        pV^h^^sKtu, y^^p,oAA.-\:^Qr>JAj^pAA^-jrk^.Aey'^ erf. tyluWQ<vitnaj.£
                                                  ^ 'rt*                           ,              ^ ^ ^
       j:ia'QjijL.S;i^'p.5-J«iX                            J5.T^ A rvp c.W Y OOa                              ,
       l£-.i^E>edLjc>sJ^jp«jCiAd~:.^^jQj^^^s.4„AAWtD.tassL^5i5L^^^
        Ja&WtpA-JoAS^S.ac^i^-S g.p^Ca:fe.c^^                                                      ^ pUjLj^—
        tr^L-s^ £g-AA_guf^A 9cA-?/;^A                        5'.'\ V^i§>.:.V^r^--§: c^.-:P:H*r.

        lA tofif ■ V-JQ .g .cip.s.!^L.                        ...BlssA.^isL.Jn
                  A-Wr.. •?r>-*y^,..k,=gL-C?n^^                                 ? ,^2 i>o'}nvjV-<.?)* arvA

                bc>cV- - 5t>t>^ •^^■•"'5o.«:>^•'n,.A,«^£,                      \a\pgk w't'VV^ Wis

       ©3Sm&.cur„^5^io^\^%£A                AaiLcSs^t.^ G .ck-cA^.p„;u?A_ W\ s_ ■ j^^lxW_ _


                                S-B£-o.6ti3&,--rrN^^WGS...j^ hsL.. st-.-£.5.giv.ii'^A
       ^!eigd;:,!bA;,^aiA,iA.:£A&t^ ct-.f^p\c-<rYV GgQ\ns-V 4:k^,


                         -t^ \W:ri -Ql,\&.^. -PCAoAlA . 'V.Vs^,, 'vQc^t AjrA.- .uiR&.,,ct.-
-u

       a\r.t_ftA^. ^VpAhA toeA .
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                S-VaoAcrA v.r»-fr^rrr,'<; ^ r>r.-V rlfcrV yor^...SaaA.^risd' Ai^-ltbsic.
       ml^AAW. p-^ -\-V\e.            TV\g.c.g^ ■arK. _cooAiJc:b,A_ !Cc^rLV^AAojilbsSs.

       rnorn°nt^. a:£::^r:Sr                                   -urx!^ _Q"£Tfci;X.—^L-A$SSJci£LSt,
       -kj-S-S^stJ^aiiaCkS—r,--,—



         iJxvjtocLv,ap^k:^Vs^.%e^^.

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                   .P,^L^sre:'-^O.PV::i\e-A^&i.X?^_-SkAWato!cr)c^
       sVtouWx f r\QL.cV<^ •"vriyr^.'TV.cso po^rc, s^<z^o\^Vks\ \/uS^s
                                              .^Tc                        xo \5              2s^
       £i£rjA„.,2;SiL?™J:A.oA -.ScjpWfib^-                                        "Vu.-O^- ,
                                     VAc\k^
              r? Vo                 . "XqI Iff           sx.                           V.r:i.,..._™.,
                                                      .ia-&kvA-.is'r y
      Cipcp                    ^ r,« q..s S. . Cko, - Vc-rA Qta Ws: . ,CJA^ALq&L
                                    XAoA-.'^AW^^.Ci>«...S\^CLAsaj^. orf.                       -fer.ix—


              . ^vr^ofer RvAy-^- Xu~5-L^- A-AAt-                      ^         AX'lri 'i^



                                                                                         c.o'>^''^3 ©"-tV
      assc<.p\"A                                                Tsaioh ^ "Wh^ :fiAVi,
              sUpysfe^r pr^ .1;^^^.-K.



                           "hi. ..SX'L &SV-n-^VjToVx5G\^.,.>^V>5^x^O-.                  ^.-eo'V. K;
